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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JINGYU CHEN,
                          Plaintiff,                        ORDER

                   -against-                                19-CV-05387 (PMH)
YONG ZHAO CAI, et al.,
                          Defendants.


PHILIP M. HALPERN, United States District Judge:

       The Court held the scheduled Case Management Conference by telephone this morning.

Counsel for Plaintiff and Defendants Yong Zhao Cai, Qian Y Cai, and Jiang Li (collectively “Cai

Defendants”) appeared. Although all parties were expected to attend, neither Kim K Cheung

(“Cheung”), proceeding pro se, nor counsel for the Eastern US Buddha’s Study (Falun Dafa)

Association, Inc., Friends of Falun Gong, Inc., International Falun Dafa Association, Inc., New

York Falun Dafa Association Corp., NY Metropolitan Falun Dafa Association, Inc., Falun Gong

Club of Orange County, Inc., Falun Dafa Information Center, Inc., or Upstate New York Falun

Dafa Association, Inc. (collectively “Corporate Defendants”) appeared. As explained on the record

during the scheduled conference, the Court directs as follows:

       1)      Counsel for the Cai Defendants shall serve and file a Notice of Appearance

forthwith;

       2)      Plaintiff shall serve and file a Second Amended Complaint, the allegations of which

will be streamlined and simplified in accordance with Rule 8(a), on February 2, 2021;

       3)      The Cai Defendants and Cheung shall serve and file their Answers to the Second

Amended Complaint on February 16, 2021;
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         4)     As a consequence of the holdings reached on the record during today’s Case

Management Conference, the Corporate Defendants’ motion to dismiss (Doc. 74) is denied

without prejudice. The Corporate Defendants shall answer or otherwise move, in accordance with

Rule 4(C) of this Court’s Individual Practices, on February 16, 2021;

         5)     The close of discovery as to the Cai Defendants, Cheung, and non-parties

referenced during today’s Case Management Conference is extended to and including April 12,

2021;

         6)     Counsel for the Cai Defendants shall serve a copy of this Order on counsel for the

Corporate Defendants; and

         7)     The Court shall hold a status conference at 11:30 a.m. on April 20, 2021. At the

time of that conference, all parties shall call the following number: (888) 398-2342; access code

3456831.

         The Clerk of the Court is respectfully directed to terminate the motion sequence pending

at Doc. 74 and to mail a copy of this Order to Cheung at the address provided in the associated

Notice of Appearance (Doc. 67). Plaintiff is directed to mail a copy of this Order to Cheung as

well and to file proof of service on the docket.

                                                   SO ORDERED:

Dated:     New York, New York
           January 12, 2021

                                                   PHILIP M. HALPERN
                                                   United States District Judge




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